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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                         CASE NO: 1:23-cv-21065-ALTONAGA/Damian

  JONATHAN CONDE, on behalf of himself
  and all others similarly situated,

         Plaintiff(s),

         v.

  CDJ OF 152nd ST MIAMI LLC
  d/b/a CRAB DU JOUR,

         Defendant.
                                       /

  JOINT NOTICE OF SELECTION OF MEDIATIOR AND SCHEDULING MEDIATION
         Plaintiff, JONATHAN CONDE, and Defendant, CDJ OF 152nd ST MIAMI LLC, by and
  through their undersigned counsel, and pursuant to D.E. 17, file this Joint Notice of Selection of
  Mediator and Scheduling Mediation. The Parties have selected Carlos Burruezo, Esq. as mediator
  and have scheduled Mediation to occur via Zoom on August 18, 2023, at 10:00 a.m. A proposed
  order scheduling mediation is attached.
         Dated this 22nd day of May 2023.

                                                      Respectfully Submitted,

  MCLUSKEY, MCDONALD &                                USA EMPLOYMENT LAWYERS
  HUGHES P.A.                                         JORDAN RICHARDS, PLLC
  8821 S.W. 69th Court                                1800 SE 10th Ave. Suite 205
  Miami, Florida 33156                                Fort Lauderdale, Florida 33316
  Ph: (305) 670-2020                                  (954) 871-0050
  Counsel for Defendants                              Counsel for Plaintiff
  By: /s/ David McDonald, Esq.                        By: /s/ Jordan Richards, Esq.
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                                               OBEIDY & ASSOCIATES
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                                               Fort Lauderdale, Florida 33306
                                               Counsel for Plaintiff

                                               By: /s/ Andrew Obeidy, Esq.
                                               ANDREW OBEIDY, ESQUIRE
                                               Florida Bar No. 910341
                                               andrew@obdlegal.com

                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the foregoing document was filed via CM/ECF on this 22nd

  day of May 2023.

                                               By: /s/ Jordan Richards, Esquire
                                               JORDAN RICHARDS, ESQUIRE
                                               Florida Bar No. 108372

                                   SERVICE LIST:

  DAVID M. MCDONALD, ESQUIRE
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  Counsel for Defendant




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